        Case 8:20-mc-00065-TPB-SPF Document 3-1 Filed 08/12/20 Page 1 of 1 PageID 215

AO 136 (Rev. 10/13) Certificate of Good Standing



                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                      __________  District  of __________
                                                        Eastern District of New  York

                                             CERTIFICATE OF GOOD STANDING




          I,                                            Douglas C. Palmer                                     , Clerk of this Court,


certify that                                James H. Power                         , Bar #                  -------                  ,


was duly admitted to practice in this Court on                       05/28/1999              , and is in good standing as a member


of the Bar of this Court.


Dated at       Brooklyn                                                                on                             08/11/2020
                                                   (Location)                                               (Date)




                         Douglas C. Palmer
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